C_ase 2:04-cV-02077-.]DB-tmp Document 28 Filed 04/21/05 Page 1 of 3 Page|D 38

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

WESTERN DIVISION

DEBBIE D. MOSS, )
)

Plaintiff, )

)

v. ) Civil No. 04-2077 BP

)

JO ANNE BARNHART, )
Cornmissioner of the Social )
Security Administration, )
)

Defendant. )

ORDER GRANTING ATTORNEY’S FEES UNDER THE

EOUAL ACCESS TO JUSTICE ACT AND 42 U.S.C. 8 406(b)

l
i;;i__ t(i,@/ 7

05 .ii\ Zi 151 J
ROE)`:‘_HE" Fi. iii "" 3
Ci..&El<. U.S‘ Dl ,¢`-T.

‘¢"v',D. OF TN, aVil:i'v§PHlS

6
Now, on this 2-' day of B&, 2005, the Court, after reviewing the file and being

advised by the parties that they have agreed to an award under the Equal Access to Justice Act

(“EAJA”), 28 U.S.C. § 2412(d), and 42 U.S.C. § 406(b), in connection with the court-related

representation of Plaintiff in this social security appeal, finds that reimbursement for attorney fees

should be made pursuant to the EA.IA in the amount of $3,900.()0, and that Plaintiff should be

reimbursed for costs of $l 5 0.00 from the Judgment Fund administered by the Treasury Department.

The parties also agree, and the Court finds, that Plaintiff” s counsel should be awarded attorney fees

under 42 U.S.C. § 406(b) in the amount of $ 7,948.50. As Plaintiff’ s counsel is receiving attorney

fees payable under the EAJA and section 406(b), Plaintiff’ s counsel should refund the smaller fee,

under the EAJA statute, to Plaintiff.l

 

' If fees are awarded under 42 U.S.C. § 406(b) and EAJA, it is counsel’s responsibility to
refund to Plaintiff the lesser of the EAJA fees or the fees awarded pursuant to section 406(b).
Congress has precluded double-dipping, i.e., receipt of attorney fees for the same services under
the EAJA and the Social Security Act. On August 5, 1985, by Pub. L. No. 99-80, § 3, 99 Stat.
186, Congress amended section 206(b) of Pub, L. No. 96-481 to provide that the smaller of the
fees awardable for the same work under the EAJA and the Act must be refunded to the Plaintiff.

’Tt\ls document entered on the docket§'he`j ii c%m§E'-ii:. ca
“` ' v /i.

with Huie 58 and/or ?Q(a) FHGP en

@

Case 2:O4-cV-O2O77-.]DB-tmp Document 28 Filed 04/21/05 Page 2 of 3 Page|D 39

lT lS THEREFORE CONSIDERED AND ORDERED THAT, pursuant to 28 U.S.C. § 2412,
Plaintiff be awarded $3,900.00 from the EAJA and that Plaintiff’ s counsel Should refund this fee to
Plaintiff.

IT IS ALSO ORDERED THAT Plaintiff is awarded costs of SlS0.00 to be paid from the
Judgment Fund administered by the Treasury Department.

IT IS ALSO ORDERED THAT, pursuant to 42 U.S.C. § 406(b), Plaintiff’ s counsel be
awarded $7,948.50.

IT IS SO ORDERED.

 

@ States Distiict Judge\

APPROVED BY:

<>sD/MS<..§H <;Ll `
JoanScott Lykins (Disc.£_b?m:j l?\-D

4646 PoplarAve., suite 202 33 W

Memphis, TN 38117
(901) 327-1900

Attorney for Plaintiff

TERRELL L. HARRIS
United States Attorney

By %,_M
Joe Mycus (#0087Q§ennessee)

Assistant United States ttorney
167 N. Main Street, Bth Floor
Memphis, Tennessee 3 8103
(901) 544-4231

Attorney for the United States

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:04-CV-02077 was distributed by faX, mail, or direct printing on
Apri122, 2005 to the parties listed.

 

 

Joe A. Dycus

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/1emphis7 TN 38103

.1 ohn Scott Lykins

LAW OFFICE OF JOHN SCOTT LYKINS
4646 Poplar Ave.

Ste. 202

1\/1emphis7 TN 38117

Honorable .1. Breen
US DISTRICT COURT

